                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE



JERRY WEST,                       )
                                  )
     Plaintiff/Counter-Defendant, )
v.                                )                Case Number: 3:07-cv-9
                                  )                Judge: Thomas A. Varlan
ALLSTATE INDEMNITY COMPANY, )                      Magistrate: C. Clifford Shirley, Jr.
                                  )                JURY DEMAND
     Defendant/Counter-Plaintiff. )


           AGREED ORDER CORRECTING CAPTION AND STYLE OF CASE

       This Court, having before it the Motion to Correct Caption and Style of Case submitted

by the Defendant/Counter-Plaintiff, Allstate Indemnity Company, and noting that the parties are

in agreement that the Style and Caption of this case should be corrected for accuracy, finds as

follows:

           1. This matter was originally filed in the Morgan County Circuit Court, Tennessee,

              at Wartburg, Tennessee, under case number 6546C, and removed to this Court by

              Allstate Indemnity Company pursuant to 28 U.S.C.A §1332.

           2. In   the   original   Complaint   filed   in   Morgan   County   Circuit    Court,

              Defendant/Counter-Plaintiff Allstate Indemnity Company was incorrectly named

              and described as “Allstate Insurance Company.” The parties are in agreement

              that the proper name and legal designation for the Defendant/Counter-Plaintiff is

              “Allstate Indemnity Company.”




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           3. The home office of Allstate was misidentified in the initial pleadings submitted by

               the Plaintiff.   The home office and principal place of business for Allstate

               Indemnity Company is Northbrook, Illinois.

           4. The parties are in agreement that the proper designation for this matter should be:

               “Jerry West, Plaintiff/Counter-Defendant, v. Allstate Indemnity Company,

               Defendant/Counter-Plaintiff” and the Court’s record should reflect that the home

               office of Allstate is in Northbrook, Illinois.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

           1. That the designation of the Defendant/Counter-Plaintiff in this matter shall be

               changed from “Allstate Insurance Company” to “Allstate Indemnity Company.”

           2. That this matter shall be known as “Jerry West, Plaintiff/Counter-Defendant, v.

               Allstate Indemnity Company, Defendant/Counter-Plaintiff” and the caption and

               style of the pleadings in this case should be labeled appropriately.

           3. That the Court’s record reflect that the home office and principal place of

               business for Defendant/Counter-Plaintiff Allstate Indemnity Company is

               Northbrook, Illinois.


       The Clerk of Court is hereby ordered to make the necessary changes to the Court’s record

of this case to reflect the above findings.

       IT IS SO ORDERED.


                                               _______________
                                               Judge Thomas A. Varlan
                                               Magistrate C. Clifford Shirley




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The parties evidence their agreement with this Order by signature of counsel below:



/s/ JAMES W. BROOKS (With Permission By Michele E. Cooper)
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                                 CERTIFICATE OF SERVICE

        Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. All other parties will be served by regular U.S.
mail. Parties may access this filing through the Court’s electronic filing system. The Plaintiff’s
counsel was sent a copy of this Pleading by U. S. Mail as follows:

       James W. Brooks, Jr.
       Attorney at Law
       PO Box 160
       Wartburg, TN 37887

       on this 16th day of January, 2007.

                                               s/ MICHELE E. COOPER
                                               MICHELE E. COOPER




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